Case 1:05-cv-00162-MP-AK Document 30 Filed 03/27/06_ Page 1 of 2

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Northern District of Florida
Cool, Clerk

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Gainesville, Florida 32601

HOTTER D

(352) 380-2400
MAS, tnd
dvr 13, 2006

To: Clerk, Unit jm tnd District Court
Northern District of Georgia
Richard B. Russell Federal Building and Courthouse
75 Spring Street SW, Room 22112
Atlanta, GA 30303-3361
Re:

INNOVATION TECHNOLOGIES,

INC. V. SPLASH!
FLN Case No.

1:05CV1i62 MMP/AK

The above-styled civil action is being transferred to your

district pursuant to an order entered on March 8
Maurice Paul.

2006, by Judge

Attached are a certified copy of the docket sheet, a
certified copy of the order of transfer,

and all other original
pleadings filed to date.

Please acknowledge receipt on the enclosed copy of this
letter of transmittal.

WILLIAM M. MeCooL, CLERK OF COURT

Deputy Clerk: Adelita Tinaya-Miller
Attachments

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Date of receipt of case in your district

roar case vo. 106-2 -0647 Set LS

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The mission of the Office of the Clerk of the Northern District of Florida is to provide superior service to the public and the Court.

Tallahassee Division (850) 521-3501 + Pensacola Division (850} 435-8440 + Panama City Division (850) 769-4556
Case 1:05-cv-00162-MP-AK Document 30 Filed 03/27/06 Page 2 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

INNOVATION TECHNOLOGIES, INC.,
Plaintiff, CIVIL ACTION FILE

VS. NO. 1:06-cv-647-TWT

SPLASH! MEDICAL DEVICES, LLC,

Defendant.

NOTICE TO ALL COUNSEL OF RECORD

The above named case was transferred to the Northern District of Georgia,
Atlanta Division from the United States District Court, Northern District of Florida. The
civil action number assigned to this case is 1:06-cv-647-TWT. The case was filed on
March 20, 2006, and has been assigned to Judge Thomas W. Thrash, Jr.

Dated at Atlanta, Georgia this 23rd day of March, 2006.

LUTHER D. THOMAS
CLERK OF COURT

By: /s/Dennis Richardson
Deputy Clerk

cc: USDC Northern Florida ees

Carlos Federico Cecrio
Corey Kyunghyun Cho
Hendrick G Mine
Stan Gushiren

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